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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

                                                                           )
EUGENE NYAMBAL,                                                            )
                                                                           )
Plaintiff,                                                                 )
v.                                                                         )     Civil Action No.
ALLIEDBARTON SECURITY SERVICES,                                            )     14-1904 (EGS)
LLC,                                                                       )
                                                                           )
           Defendant.
                                                                           )


   PLAINTIFF’S REPLY TO OPPOSITION OF DEFENDANT ALLIED BARTON
SECURITY SERVICES, LLC TO PLAINTIFF’S MOTION TO STRIKE ANSWER AND
FOR JUDGMENT BY DEFAULT OR, ALTERNATIVELY, MOTION FOR LEAVE TO
                   PERMIT LATE FILING OF ANSWER

          The Plaintiff, Eugene Nyambal, by his attorneys, Law Office of Mohaimina Haque,

PLLC, hereby replies to the Opposition of Defendant AlliedBarton Security Services, LLC to

Plaintiff’s Motion to Strike Answer and for Judgment by Default or, Alternatively, Motion for

Leave to Permit Late Filing of Answer, as follows.

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                     MEMORANDUM OF POINTS AND AUTHORITIES

    I.      Plaintiff did not waive his motion to strike Defendant’s untimely Answer that

            was filed without leave of court, and has fully complied with Rule 55, Fed. R.

            Civ. P. in moving this court to enter judgment by default in his favor.

                Defendant AlliedBarton does not contest the fact that it attempted to file its

         Answer, with six “defenses,” including five previously unasserted affirmative defenses,

         approximately 42 months late and without leave of court. Rule 8(b)(6), Fed. R. Civ. P.

         provides: “(6) Effect of Failing to Deny. An allegation—other than one relating to the

         amount of damages—is admitted if a responsive pleading is required and the allegation is

         not denied.” And, as the court ruled in Biton v. Palestinian Interim Self-Government

         Auth., 239 F.R.D. 1, 3 (D.D.C. 2006), “[t]he answer without a motion was … a legal

         nullity.” Id. ""In the absence of any motion for an extension, the trial court ha[s] no basis

         on which to exercise its discretion." Smith v. District of Columbia, 430 F.3d 450, 457

         (D.C. Cir. 2005), and accordingly cannot determine if excusable neglect exists, Id.

                Because Defendant failed to deny the allegations in plaintiff’s Complaint, the

         allegations were deemed admitted by operation of Fed. R. Civ. P. 8(b)(6), and Plaintiff is

         therefore entitled to a judgment in its favor by default. Defendant does not argue about

         the meaning of these well-established rules. Defendant asserts that because there have

         been numerous “docketed filings” in the case, then Plaintiff’s motion to strike the Answer



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        and enter judgment is “moot, has been waived, and does not comply with Fed. R. Civ. P.

        55.” (Doc. #248 at 3.)1

                 Defendant does not cite any authority to support its claims of mootness and

        waiver. In fact, there is no legal support for such claims. First, there is no rule that

        requires the Plaintiff to move for a default judgment at any particular time in the

        proceeding.     Second, "[t]he classic definition of waiver" is the "'intentional

        relinquishment or abandonment of a known right or privilege.'" Fay v. Noia, 372 U.S.

        391, 439 (1963)(quoting Johnson v. Zerbst, 304 U.S. 458, 464 (1938))2, overruled in part

        on other grounds by Wainwright v. Sykes, 433 U.S. 72, 85 (1977). Defendant has not

        produced any evidence showing that Plaintiff waived his right to file a motion for default

        judgment pursuant to Fed. R. Civ. P. 55 or to move to strike an answer filed out of time

        and without the court’s approval.

               Defendant also argues that: “Due to the Defendant filing its Answer prior to an

        entry of default, the Defendant respectfully submits the issue is moot.” Again, Defendant

        cites no authority for this novel assertion which is squarely contradicted by Fed. R. Civ.

        P. Rules 6(b), 8(b)(6), 12(f) and 55. Because Defendant did not obtain leave of court to

        file the tardy Answer, the Answer was a nullity and did not cure Defendant’s default.

        Biton, 239 F.R.D. at 3.

               Nor does Defendant’s response make clear why Plaintiff’s Motion for Default

        Judgment allegedly does not comply with Fed. R. Civ. P. 55. Paragraph (a) of Rule 55

        applies to the facts of this case because Defendant “failed to plead or otherwise defend”

1   “Doc. #248” is an example of the convention used in this document to identify the docket
    number assigned to a specific paper by the court’s case management and electronic case filing
    system (CM/ECF). This convention is used throughout this document.
2   Overruled in part on other grounds, Edwards v. Arizona, 451 U.S. 477 (1981).

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 and therefore paragraph (b)(2) applies; “the party must apply to the court for a default

 judgment.” Id. (emphasis added).

         Had Plaintiff sought an order of the Clerk pursuant to Fed. R. Civ. P. 55(b)(1),

 which Defendant seems to argue is required, such an order would have been “void ab

 initio” because Defendant had actually appeared in this action. “Rule 55(b)(1) ‘applies

 only to parties who have never appeared in the action.’ See Direct Mail, 840 F.2d at 689

 (citation omitted).” Franchise Holding II, LLC v. Huntington Rests. Grp., Inc., 375 F.3d

 922, 927 (9th Cir. 2004). Rule 55(a) was amended in 2007 to change "plead or otherwise

 defend ‘as provided by these rules’" to merely "plead or otherwise defend." See Fed. R.

 Civ. P. 55, Notes of Advisory Committee to 2007 Amendment.                       The Advisory

 Committee Note to the 2007 amendment suggests that the change was meant to mean that

 if a party did something showing an intent to defend, a default should not be entered by

 the clerk even if the act was not specifically described by the rules. Id. “Acts that show

 an intent to defend have frequently prevented a default even though not connected to any

 particular rule.” Id.

         In United States v. Reed, No. CV-F-05-0431 REC LJO, 2006 U.S. Dist. LEXIS

 77787, at *8 (E.D. Cal. Feb 2, 2006), the court stated:

         Rule 55 of the Federal Rules of Civil Procedure provides that the
         Court may enter a default judgment "[w]hen a party against whom
         a judgment for affirmative relief is sought has failed to plead or
         otherwise defend…." A party must file an answer or motion to
         dismiss within 20 days of service of the summons and complaint.
         Fed. R. Civ. P. 12. Rule 55 provides that default judgment may be
         granted to a party entitled to it by either the Clerk or the Court. In
         cases in which damages are not for a "sum certain," a party must
         seek default through the Court pursuant to Rule 55(b)(2). Upon
         default, the allegations of a well-pleaded complaint are taken as
         true. Adriana Int'l Corp. Lewis & Co., 913 F.2d 1406, 1414 (9th



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             Cir. 1990)(citing Geddes v. United Fin. Group. 559 F.2d 557, 560
             (9th Cir. 1977)).

      Id. (emphasis added).

             And, in Tolliver v. Lilley, No. 1:12-cv-00971-DAB-KNF, 2015 U.S. Dist. Lexis

      129413 (S.D. N.Y. Feb. 19, 2015), the court explained:

             Although Prack was in default as of July 7, 2014, the record did
             not indicate his default at the time of the plaintiff's motion for
             judgment by default. "The omission of the entry of a default was
             largely technical" because Prack had an opportunity to oppose the
             motion for judgment by default and was afforded "the same
             opportunity to present mitigating circumstances that [he] would
             have had if a default had been entered [at the time of the plaintiff's
             motion] and [he] had then moved under Rule 55(c) to set it aside."
             Meehan v. Snow, 652 F.2d 274, 276 (2d Cir. 1981). "Even if a
             default had been entered, opposition to a motion for a default
             judgment can be treated as a motion to set aside the entry of a
             default despite the absence of a formal Rule 55(c) motion."

      Id. at 12-13.

             Therefore, Plaintiff properly moved the court, not the Clerk, to enter a judgment

      by default in his favor and his motion is fully compliant with Rule 55. If the court strikes

      the purported Answer because leave to file it out of time was not sought prior to its filing,

      then the Defendant has defaulted and Plaintiff is entitled to a judgment by default, unless

      the court grants Defendant’s Motion for Leave to Permit Late Filing of Answer. If the

      court denies that motion, then the court must enter a judgment by default and schedule a

      hearing on damages only.

II.      Defendant’s Motion for Leave to Permit Late Filing of Answer should be denied.

             Defendant now, 42 months late, moves for leave to be permitted to file an Answer

      containing 5 previously unasserted affirmative defenses, arguing as an excuse for its

      tardy attempt to file an Answer: “Undersigned counsel acknowledges that the filing of



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   the Answer was embarrassingly late, but would respectfully submit that it was an

   oversight and the result of excusable neglect due to the confusion of the state of case

   following the multiple substitutions of counsel on behalf of Mr. Nyambal and the failed

   efforts to file an Amended Complaint following the court’s October 17 2018 Order.”

   (Doc. #248 at 2.) This “excuse” of “oversight” is not evidence of “excusable neglect” as

   required by Rule 6(b), Fed. R. Civ. P., see, e.g., Moore v. District of Columbia, No. 1:05-

   cv-02020-PLF, at 2-3 (D.D.C. Feb. 15, 2007), citing Wilson v. Feldman, Civ. A. No. 90-

   0263, 1991 WL 197025, at *1 (D.D.C. September 18, 1991)(“To meet the standard for

   excusable neglect, . . . counsel must show good faith, little or no prejudice to other

   parties, and ‘a reasonable basis for not complying within the specified period.’”);

   therefore, leave of court should not be granted to allow the tardy Answer to be filed.

          As the court explained in David E. Harvey Builders, Inc. v. Sec. of Labor, No. 17-

   1215, 724 F.App'x 7 (D.C.Cir. 2018):

          Under Pioneer Inv. Servs. v. Brunswick Assocs., 507 U.S. 380,
          395, 113 S. Ct. 1489, 123 L. Ed. 2d 74 (1993), our evaluation
          whether neglect is "excusable" depends on: (1) the "danger of
          prejudice" to the opposing party; (2) the "length of the delay" and
          its "impact on judicial proceedings"; (3) the "reason for the delay,
          including whether it was within the reasonable control of the
          movant"; and (4) "whether the movant acted in good faith." See
          also Cohen v. Bd. of Trustees, 819 F.3d 476, 479, 422 U.S. App.
          D.C. 129 (D.C. Cir. 2016).

   Id. at 2, 724 F.App'x at 10. See also Smith, 430 F.3d at 456 n.5.

   Applying these factors to this case:

1. Danger of prejudice to Plaintiff. Defendant’s tardy Answer attempts to plead six

   “defenses” which include previously unasserted affirmative defenses, including: “no

   publication” (Second Defense), “statute of limitations” (Third Defense), “absolute and/or

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   qualified privilege” (Fourth Defense), “damages caused by others” (Fifth Defense) and

   extensive denials and denials for lack of knowledge, (Sixth Defense).

           Rule 8(c), Fed. R. Civ. P. states: “Affirmative Defenses (1) In General. In

   responding to a pleading, a party must affirmatively state any avoidance or affirmative

   defense….” Here Defendant alleges these affirmative defenses for the first time in its

   proposed Answer, 42 months late. No notice of these defenses was provided to Plaintiff

   during the 8-year pendency of this action, including almost four years of discovery. Even

   Carnac the Magnificent could not have known to prepare to defend against these

   sophisticated affirmative defenses now newly asserted by able insurance counsel, much

   less a pro se litigant.

            Although Plaintiff was aware that Defendant contested his defamation claim he

   did not know of these defenses, and therefore he did not and could not undertake essential

   discovery about them. Defendant, by either artifice or gross negligence, failed to comply

   with Fed. R. Civ. P. 8(c) for 42 months, only attempting to plead affirmative defenses

   after the close of discovery on April 15, 2022. There is no “danger” of prejudice here;

   there is real, palpable prejudice caused by Defendant’s failure to comply with the Federal

   Rules of Civil Procedure.

2. Length of delay and impact on judicial proceeding. The court’s Order of October 17,

   2018 reinstated Plaintiff’s defamation claim. Pursuant to Fed. R. Civ. P. 12(a)(4)(A),

   Defendant had 14 days to respond to the counts of the Complaint. Linchpins of Liberty v.

   United States, 71 F.Supp.3d 236, 251 n.24 (D.D.C. 2014), aff'd in part, rev'd in part on

   other grounds and remanded sub nom., True the Vote, Inc. v. IRS, 831 F.3d 551 (D.C.

   Cir. 2015). Defendant did not attempt to respond until April 21, 2022, approximately 42



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  months late and without leave of court. This delay is truly unprecedented; Plaintiff has

  not found any other reported decisions with such a tardy response.

          As to the “impact on judicial proceeding” factor, if Defendant is allowed to file its

  Answer eight years after the suit was filed and 42 months after the court’s reinstatement

  of the defamation claim, Plaintiff will be required, in the interest of justice, to request that

  the court allow a reopening of discovery for Plaintiff to inquire into these newly asserted

  defenses. This will unduly prolong this eight-year-old case and increase the parties’ legal

  expense.

          Defendant has established a pattern of tardiness and requesting the court to extend

  deadlines for its convenience. In his order of September 29, 2021 compelling Defendant

  to answer within 30 days the outstanding requests for production of documents and

  admissions served on May 22 and 25, 2020, Magistrate Judge Farruqui wrote:

          AlliedBarton offers no arguments outside of the stay as to why
          these requests are improper. See Def.’s MPO at 3–4. Thus,
          Defendant’s motion for Protective Order is DENIED as to these
          requests. Defendant must respond to the outstanding discovery
          requests within 30 days of this opinion unless ordered differently
          by Judge Sullivan.

  (Doc. #199 at 5.)

          However, Defendant missed the deadline of the September 29, 2021, order. At its

  request, the court granted Defendant another extension of time on December 2 and 3,

  2021, extending discovery deadlines through April 1, 2022, compelling it to answer all

  outstanding requests by April 15, 2022 based on the following representation recited in

  the court’s Minute Order of December 2, 2021:

          AlliedBarton states that it intends to depose Mr. Nyambal and
          several witnesses and requests that discovery remain open for at
          least 120 days from the entry of any order by the Court. ECF No.


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         205. . . . It is HEREBY ORDERED that discovery in this case
         shall conclude by April 1, 2022. The parties shall file separate
         status reports with recommendations for further proceedings by no
         later than April 15, 2022.

         As of April 1, 2022, Defendant had not responded to the outstanding discovery

  requests, filed a status report, produced its list of witnesses, or deposed Plaintiff as

  requested in its Motion for extension to respond to discovery requests filed on October

  27, 2021. (Doc. #208.) In the Minute order of April 20, 2022, the court acknowledged

  that Defendant had failed to comply with its order, which states:

         Defendant has failed to comply with this Court's Minute Order of
         December 2, 2021 by failing to submit, by no later than April 15,
         2022, a status report with recommendations for further
         proceedings. Defendant shall file a status report with
         recommendations for further proceedings by no later than April 22,
         2022.

         The court has been aggressive in case management by denying Plaintiff all

  requests for leave to file an amended complaint since the start of this action in 2014. The

  court’s reasoning in its Minute Order of May 3, 2019, denying Plaintiff leave to file an

  amended complaint, was that amending the complaint “would cause undue delay and

  undue prejudice to AlliedBarton because this case has been pending for over four years.”

  This reasoning and logic should also apply to denying Defendant’s tardy Answer to the

  Complaint. The court ruled in its Minute Order of May 3, 2019:

         The Court finds that Mr. Nyambal's proposed amendments would
         cause undue delay and undue prejudice to AlliedBarton because
         this case has been pending for over four years and the parties have
         engaged in motion practice. See, e.g., Foman, 371 U.S. at 182;
         Mowrer, 326 F.R.D. at 352-53. Allowing Mr. Nyambal to file his
         proposed amended complaint "offers no end [to the litigation] and
         is unfair to the opposing party. It presents precisely the type of
         'moving target' that delays the resolution of long-pending cases,
         such as this one, and that deprives the defendant of the opportunity
         to understand and to address the wrong that it has allegedly


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          committed." Sai v. Transp. Sec. Admin., 326 F.R.D. 31, 35
          (D.D.C. 2018).

          Here, for the same reasons given by the Court in denying Plaintiff’s leave to

   amend the Complaint, the court should deny Defendant’s attempt to file a tardy Answer

   containing new affirmative defenses. (See also this court’s Minute Order of September

   19, 2019, once again denying leave to file an amended complaint.)

          The logic of this Court’s Minute Order of May 3, 2019, is another reason for

   denying leave to file Defendant’s tardy Answer. As the court noted:

          Although the Court "should freely give leave [to amend] when
          justice so requires," id., that liberal standard does not extend to
          cases involving "undue delay, bad faith or dilatory motive on the
          part of the movant, repeated failure to cure deficiencies by
          amendments previously allowed, undue prejudice to the opposing
          party by virtue of allowance of the amendment, [and] futility of
          amendment," Foman v. Davis, 371 U.S. 178, 182 (1962). "[U]ndue
          delay has been found when plaintiffs have sought to add claims
          four or five years after litigation commenced, particularly after the
          parties had engaged in motion practice." Mowrer v. U.S. Dep't of
          Transp., 326 F.R.D. 350, 352-53 (D.D.C. 2018)(collecting cases).


3. The reason for the delay, including whether it was within the reasonable control of

   the movant. The reason given for the delay by Defendant is: “Undersigned counsel

   acknowledges that the filing of the Answer was embarrassingly late, but would

   respectfully submit that it was an oversight and the result of excusable neglect due to the

   confusion of the state of case following the multiple substitutions of counsel on behalf of

   Mr. Nyambal and the failed efforts to file an Amended Complaint following the court’s

   October 17 2018 Order.” (Doc. #248 at 2.) These excuses are not grounds for a finding

   of “excusable neglect.”



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         The excuse “confusion of the state of the case following the multiple substitution

  of counsel on behalf of Mr. Nyambal” relies on a misstatement of the facts. Defendant

  was required to file its Answer on October 31, 2018.            At that time, there was no

  “confusion of the state of the case;” all Defendant had to do was to file a timely answer.

  After that, if it wanted to file an answer or otherwise plead out of time, it was required to

  seek leave from this court for late filing, which it did not do until now, 42 months later,

  and only after Plaintiff filed the pending motions. Therefore, “confusion of the state of

  the case following the multiple substitution of counsel” could not have caused Defendant

  to fail to timely answer the complaint when due on October 31, 2018.

         Defendant’s other excuse, that it could not file an Answer because of Plaintiff’s

  “failed efforts to file an Amended Complaint following the court’s October 17, 2018,

  Order,” (Doc. #248 at 2), is no better than the first excuse. Plaintiff did not attempt to file

  an amended complaint until February 28, 2019, in line with the court’s modified

  scheduling order of February 1, 2019, and almost four months after Defendant’s Answer

  was due on October 31, 2018. (See Doc. #54). Not only is Defendant’s delay in

  answering “embarrassing,” so are its reasons for this court to find “excusable neglect” as

  required by Fed. R. Civ. P. 6(b). Because the reason for delay is an important factor to be

  considered by the court in determining excusable neglect, see United States v. Torres,

  372 F.3d 1159, 1163 (10th Cir. 2004), on this basis alone the court should deny

  Defendant’s motion.

         This case is similar to Cohen v. Bd. of Trs. of the Univ. of the Dist. of Columbia,

  305 F.R.D. 10, 13 (D.D.C.2014). In that case, the District Court properly denied Cohen a

  motions for extension of time because his counsel created a pattern of missing court

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  deadlines and his repeated failure “to meet almost every relevant deadline” created a

  pattern that could, taken together, burden judicial proceedings. Id. Most importantly,

  counsel “put forth no reasonable excuse” for the delay, Id. at 14, and there was no

  suggestion that anything went wrong with the district court's CM/ECF electronic case

  filing system, Id. at 15.

          As the court stated further in Cohen, emphasizing the reasons to deny his motions

  for extension in the absence of excusable neglect:

          Any one of those delays may not alone be a significant burden on
          judicial proceedings, but the pattern of near-constant delay is
          notable. Cf. Embassy of Fed. Republic of Nigeria v. Ugwuonye,
          901 F.Supp.2d 92, 99 (D.D.C. 2012)(relying in part on " multiple
          delays" in denying a motion for extension of time and noting that "
          this is not the first time [the party] has missed a deadline in this
          action" ). Even if all three of these factors weighed in plaintiff's
          favor, however, "the reason for the delay is the most important
          [factor], particularly if it weighs against granting the extension."
          Id.; see also Webster v. Pacesetter, Inc., 270 F.Supp.2d 9, 14
          (D.D.C. 2003). For that reason, in the absence of a reasonable
          excuse for delay, courts regularly deny motions for extension, even
          if the other factors weigh in the movant's favor. See, e.g., Inst. for
          Policy Studies v. CIA, 246 F.R.D. 380, 382-83 (D.D.C. 2007);
          D.A. v. District of Columbia, No. 7-1084, 2007 WL 4365452, at *3
          (D.D.C. Dec. 6, 2007).

  Cohen, 305 F.R.D. at 13-14.

          In this instant case, Defendant failed to answer the complaint for 42 months,

  missed the deadlines for expert and non-expert discovery of the scheduling order of

  February 1, 2019. The Defendant failed to answer the second request for production of

  documents served on July 13, 2019 and failed to timely answer the deficiency letter of

  September 17, 2019, nor Defendant supplemented its response to the first and second set

  of discovery requests. It missed the court’s deadline for filing expert report on the

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  grounds that delays were due to its law firm’s computer breakdown on September 19, and

  23, 2019 and did not serve Plaintiff its motion for extension of time. It answered

  Plaintiff’s motion to vacate order and strike its expert report for misrepresentation 71

  days after the deadlines. (See Doc. #148.) It was granted permission for a late filing in

  June 2021 on the grounds that it failed to answer Plaintiff’s motion to vacate order and

  strike, (Doc. #148), due by March 19, 2021, because it confused Docket #148 (which was

  due by March 19, 2021) with Docket #158 (which had been entered on Sunday March 21,

  2021). It failed to timely answer the third request for production of documents and

  admissions served on May 22 and 25, 2020 more than 20 months after being served and

  did not answer the deficiency letter of December 23, 2021 and supplement its responses

  as instructed by the court’s orders of December 2 and 3, 2021, which compelled it to

  answer all outstanding requests by April 15, 2022.

         Defendant has put forth no cognizable excuse for its delay. Moreover,

         it is well established that inadvertence, ignorance of the rules, and
         mistakes construing the rules do not constitute excusable neglect
         for purposes of Rule 6(b), the district court acted well within its
         discretion in refusing to consider the Quigleys' untimely motion.
         See Pioneer Investment Servs. v. Brunswick Assoc., 507 U.S. 380,
         392, 113 S.Ct. 1489, 123 L.Ed.2d 74 (1993); Torres, 372 F.3d at
         1163-64 ("[C]ounsel's misinterpretation of a readily accessible,
         unambiguous rule cannot be grounds for relief unless the word
         excusable is to be read out of the rule.") (internal quotation
         omitted).

  Quigley v. Rosenthal, 427 F3d 1232, 1238 (10th Cir. 2005).

         Because both of Defendant’s excuses are at best disingenuous, they are not a

  proper basis for this court to find “excusable neglect” as required by Fed. R. Civ. P. 6(b)




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  to permit the filing of the tardy Answer. Furthermore, the timing of filing an Answer was

  100% within the control of the Defendant, and therefore 100% Defendant’s fault.

         In the District of Columbia Circuit, fault is a critical factor in the analysis of what

  is excusable neglect. See Wilson v. Prudential Fin., 218 F.R.D. 1, 3 (D.D.C. 2003)

  ("Courts have noted that ‘fault in the delay [is] perhaps the most important single factor,’

  while the prejudice factor is of relatively little importance." Quoting Webster v.

  Pacesetter, Inc., 270 F.Supp.2d 9, 14-15 (D.D.C.2003)). Nwaneri v. Quinn Emanuel

  Urquhart & Sullivan, LLP, No. 19-cv-01540 (TNM), 9, 2020 U.S. Dist. LEXIS 244108

  (D.D.C. Dec. 30, 2020). Here, the Defendant has no one to blame but itself.

         The case law from this court is replete with examples of untimely
         filings being rejected where the only triggering Pioneer factor was,
         as is the case here, a mistake made by counsel. See, e.g., D.A. v.
         District of Columbia, No. 07-1084, 2007 WL 4365452 (D.D.C.
         filed Dec. 6, 2007)(untimely filing of opposition was not the result
         of excusable neglect where delay was caused by counsel's
         mistaken belief that a motion for enlargement had been filed);
         Casanova, 499 F.Supp.2d at 34 ("mere characterization of prior
         counsel's failure [to timely file answer to counterclaim] as an
         oversight is insufficient" ); Moore v. District of Columbia, No. 05-
         2020 (D.D.C. filed Feb. 15, 2007)(" the holidays and the press of
         other business, and the absence of undue prejudice to Plaintiff, fall
         far short of a showing of excusable neglect"); Halmon, 355
         F.Supp.2d at 242 (describing as "lame" counsel's excuse that she
         "did not place the due date on her calendar"); Webster, 270
         F.Supp.2d at 12 (mistaken belief that court's order was not a final
         judgment triggering time to appeal "does not amount to excusable
         neglect"); Cobell, 213 F.R.D. at 42-43 ("inadvertent miscalculation
         of the date by which [plaintiffs] were required to respond to
         defendants' filings" not excusable neglect); Ramseur v. Barreto,
         216 F.R.D. 180, 182 (D.D.C.2003) ("inadvertently overlook[ing] a
         filing deadline [and later] to be reminded of it only by a show
         cause order some three weeks later [does not] constitute [ ]
         excusable neglect")(internal quotations omitted); Wilson & Co. v.
         Ward, 1 F.R.D. 691, 691 (D.D.C.1941)(no excusable neglect
         where demand for jury trial was "inadvertently overlooked" by
         counsel, even where opposing party consented to enlargement).



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   Inst. for Policy Studies v. United States CIA, 246 F.R.D. 380, 384 (D.D.C. 2007).

4. Whether the movant acted in good faith. Defendant has knowingly violated Federal

   procedural rules while claiming such violations were mere “excusable neglect.”

   Defendant seeks an “attaboy” from the court for discovering that it had failed to file an

   answer 42 months after it was due. Plaintiff believes that no “attaboy” is appropriate;

   even after discovering the “embarrassingly” late failure to file an answer, Defendant

   continued to ignore the federal rules and attempted to file an Answer without leave of

   court, perhaps hoping that a pro se defendant would not know the difference. And its

   excuses for its failure to comply with the rules are unconvincing and disingenuous.

          As to the “good faith” factor, Defendant’s practice has been to be chronically late

   in its filings while repeatedly asking the court to forgive it for its non-compliance with

   the rules. For example, recently the court noted that Defendant had disobeyed the court’s

   order of December 2, 2021. (A review of the difficulties caused by Defendant that

   Plaintiff has faced in discovery in this case is set out in Docket #132, filed December 12,

   2020.) And, the lateness in answering is so long that the lateness alone is bad faith. The

   Court of Appeals in NLRB v. Washington Star Co., 732 F.2d 974, 976 (D.C. Cir. 1984)

   suggests that a filing can be “filed so late that [it] could not be regarded as in good faith.”

   Here an answer filed 42 months late is not in good faith, particularly where it attempts to

   assert new affirmative defenses, thus upending an opportunity by the Plaintiff to do

   meaningful discovery.

          Therefore, Defendant’s motion should be denied and a judgment by default

   should be entered for Plaintiff. “If such a defendant is not permitted to file an answer or

   a Fed. R. Civ. P. 12 motion out of time, it makes sense that a default judgment may be


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       entered, and that a default may be entered as a prelude to, or incident to, the entry of that

       default judgment, even though there was an effort to defend at an earlier stage. Kpodi v.

       Smith (In re Smith), 463 B.R. 144, 145 (Bankr. D.C. 2012).

                                        CONCLUSION

       Defendant’s failure to Answer for 42 months was not the product of mistake. It was, at

best, the result of negligence and intentional disregard of the Federal Rules of Civil Procedure.

Defendant’s excuses for its failure to timely Answer do not constitute “excusable neglect” under

Fed. R. Civ. P. 6(b). See, e.g., D.A. v. District of Columbia, No. 07-1084, 2007 U.S. Dist.

LEXIS 90640 (D.D.C. Dec. 6, 2007) (an excellent survey of the federal decisions on this

subject). The court should strike the purported Answer because leave to file it out of time was

not sought prior to filing, therefore the Defendant has defaulted and Plaintiff is entitled to a

default judgment, unless the court grants Defendant’s Motion for Leave to Permit Late Filing of

Answer. Because the Defendant has not made an adequate showing of excusable neglect, its

motion for leave to file an Answer should be denied and the court should enter a judgment by

default in favor of the Plaintiff and schedule a hearing on damages only.

       WHEREFORE, Plaintiff respectfully requests that the court strike the purported Answer

and enter judgment by default in favor of the Plaintiff and against the Defendant on the

defamation count of Plaintiff’s Complaint and schedule a hearing on the issue of damages only.

                                             Respectfully submitted,
                                             Law Office of Mohaimina Haque, PLLC

                                             By:     /s/ Mohaimina Haque
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                                                     /s/ J Nelson Happy
                                                     J. Nelson Happy #435987
                                                     Attorneys for Plaintiff Eugene Nyambal

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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 11th day of May, 2022 a copy of the foregoing was
mailed postage first class, and electronically served via email to:


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